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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS
                                  TERRE         DIVISION
                                         HAUTE DIVISION

  UNITED STATES OF AMERICA,                       )
       Plaintiff,                                 )
                                                  )
         vs.                                      )     2:10-cr-7-JMS-CMM-17
                                                  )
  MELISSA VAN NESS,                               )
       Defendant.                                 )
                                                  )

                                              ORDER

         Defendant Melissa VanNess has filed a Motion to Reduce Sentence, to which the gov-

  ernment has objected, noting that the motion cites no legal basis for a sentence modification.

  The government is correct.

         A Court may only modify a term of imprisonment under one of three circumstances: (1)

  upon motion by the Director of the BOP; (2) where modification is expressly permitted by stat-

  ute or by Rule 35 of the Federal Rules of Criminal Procedure; and (3) where a defendant had

  been sentenced under a sentencing range that was subsequently lowered by the Sentencing

  Commission pursuant to 28 U.S.C. § 994(o). Id. Because Congress has enacted no other statute

  providing alternative grounds for sentence modification, Rule 35 of the Fed. R. Crim. P. supplies

  the only alternative to satisfying one of the conditions set forth in § 3582(c). However, Rule 35

  designates only two narrow bases for a sentence reduction. Fed. R. Crim. P. 35(a)-(b). Under

  the rule, a Court may only reduce a defendant’s sentence: (1) on the basis of correcting clear er-

  ror; or (2) on the government’s motion because a defendant has provided substantial assistance to

  the government. Id.

         Ms. Van Ness does not argue that any of these grounds apply. Instead, she urges the

  Court to grant her Motion because her son needs her to care for him. [Dkt. 1293 at 2.] The

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  Court has no authority to grant a reduction in sentence for the suggested reason. Accordingly,

  Ms. Van Ness's Motion is DENIED. [Dkt. 1293.]


              08/08/2013


                                                        _______________________________

                                                          Hon. Jane Magnus-Stinson, Judge
                                                          United States District Court
                                                          Southern District of Indiana
  Distribution via ECF.

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